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US. PISTRICT COURT

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UPEK, INC.

IN THE UNITED STATES DISTRICT COURT
DISTRICT OF UTAH, CENTRAL DIVISION

 

INTERNATIONAL AUTOMATED SYSTEMS,
INC., ,

Plaintiff and Counterclaim PPROROSERY ORDER FOR DISMISSAL
Defendant,

Case No.: 2:06-CV-00072-DB

‘. Judge: Dee Benson

IBM; IBM CORPORATION; IBM PERSONAL
COMPUTING DIVISION; LENOVO (UNITED
STATES) INC.; LENOVO GROUP LTD.;
UPER, INC.; and JOHN DOES 1-20.

Defendants and Counterclaimants.

 

 

 
 

 

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Having reviewed the Joint Stipulation of Dismissal entered into by plaintiff
International Automated Systems, Inc. and defendants and counter claimants UPEK Inc.
(“UPEK”), International Business Machines Corporation (“IBM”), and Lenovo (United States)
Inc. (“Lenovo”), in which the parties stipulate and agree to the following, IT IS HEREBY
ORDERED THAT:

1. International Automated System Inc.’s claims in its Complaint are dismissed

with prejudice; and

2. UPEK’s, IBM’s and Lenovo’s Counterclaims are dismissed without prejudice.
3. Each of the parties shall bear its own costs and attorney fees.
4, The foregoing dismissals dispose of all remaining claims and counterclaims in

the above entitled action.

IT IS SO ORDERED.

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Dated: “fF lot hee & =

TN Honorable Judge Dee Benson
United States District Court Judge

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